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            DATE:           2/2/2021                                     CASE NUMBER 4:21-MJ-00091-KPJ
       LOCATION:            Plano
           JUDGE:           Kimberly C. Priest Johnson                   USA v. Jason Lee Hyland
      DEP. CLERK:           Jane Amerson
       RPTR/ECRO:           Digital Recording                            __Tracey Batson_______
            USPO:           T. Routh                                     AUSA
    INTERPRETER:            N/A
       BEGIN/END:           10:24 – 10:40                                _Reed Prospere, Retained_______
      TOTAL TIME:           16 Minutes                                   Defense Attorney

☒ INITIAL APPEARANCE OUT OF DISTRICT COMPLAINT
☐ ARRAIGNMENT
☐ DETENTION HEARING         ☐ PRELIMINARY HEARING                      ☒ STATUS CONFERENCE

☐      Hearing Held       ☒ Hearing Called            ☒ Defendant Sworn        ☐ Interpreter Required

☒      Date of arrest:   2/2/2021 – Self Surrender 1:21mj0181 District of Columbia        (Other district court & case #)

☒      Defendant ☒ advised of charges ☒ advised of maximum penalties ☐ waived reading of indictment

☒      Defendant first appearance with counsel Attorney:                Reed Propere            ☒ Retained
☐      Defendant advises the Court that they ☐ have counsel who is                           or, ☐ will hire counsel.
☐      Financial affidavit executed by dft.
☐      Defendant requests appointed counsel, is sworn and examined re: financial status.
☐      The court finds the defendant is ☐ able to employ counsel ☐ unable to employ counsel.
☐                                                                   CJA appointed
☐                                                                   FPD appointed

☒      USA ORAL motion for detention **USA did not move to detain**
☐      USA ORAL motion to continue ☐ Oral Order granting continuance ☐ Oral Order denying continuance
☐      Defendant ORAL motion to continue detention hearing
☐      Oral Order granting continuance ☐ Oral Order denying continuance
☐      Detention hearing set
☐      Arraignment set

☐      Detention Hearing waived.
☐      Defendant detained based on signed Waiver.
☐      Preliminary Hearing waived.
☒      Court found Probable Cause based on signed Waiver.
☒      Defendant signed Waiver of Rule 5 and 5.1 hearings: ☒ waives identity hearing; ☒ waives preliminary
       hearing; ☐ waives detention hearing; ☐ waives all hearings but requests hearings be held in prosecuting
       district.
☐      Defendant signed Waiver of Rule32.1 hearing: ☐ waives identity hearing; ☐ waives preliminary hearing;
       ☐ waives detention hearing; ☐ waives all hearings but requests hearings be held in prosecuting       district.
☐      Defendant remanded to custody of U.S. Marshal ☐ Defendant ordered removed to Originating District
☒      Order setting conditions of release ☐ PR Bond executed
☐      Defendant failed to appear            ☐ oral order for arrest warrant           ☐ bond forfeited
                                ☐ See reverse/attached for additional proceedings
